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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION



ZT IP, LLC,                                 Civil Action No. 3:22-cv-00970-X

                  Plaintiff,

      v.
                                              JURY TRIAL DEMANDED
VMWARE, INC.,

                  Defendant.




                    VMWARE, INC.’S MOTION TO DISMISS
              WITH PREJUDICE FOR FAILURE TO STATE A CLAIM
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I.       INTRODUCTION

         ZT IP, LLC (“ZT”) accuses a VMware, Inc. (“VMware”) product released in 2002 of

infringing a patent filed in 2003. ZT’s pleadings make this position crystal clear: its Complaint

and accompanying papers map claim 1 of U.S. Patent No. 7,647,583 (the “’583 patent”) against a

public user manual for ESX Server version 1.5 (“ESX 1.5”) bearing a 2002 copyright date.

         Infringement in this scenario is an impossibility. Under black letter patent law, a product

that predates a patent cannot infringe it. See Upsher-Smith Lab’y., Inc. v. Pamlab, LLC, 412

F.3d 1319, 1322 (Fed. Cir. 2005) (“A century-old axiom of patent law holds that a product [that]

would literally infringe if later in time anticipates [i.e., invalidates] if earlier.”). As ZT’s

Complaint fails to state a claim, VMware asks that the Court dismiss it with prejudice.

II.      STATEMENT OF FACTS

         A.     ESX 1.5 was released on May 13, 2002.

         VMware commercially released ESX 1.5 on May 13, 2002. (Decl. of Richard Hung

(“Hung Decl.”), Ex. 1 at 1-2.) Upon its release, VMware made available a user manual

describing its features and functionality. (Hung Decl., Ex. 2 (“2002 ESX 1.5 User Manual”).)

That manual bears a 2002 copyright date. (Id. at 2.) It also confirms ESX 1.5’s public

availability in 2002. (See id. at 13 (“Thank you for choosing VMwareTM ESX ServerTM, the

virtual machine software for consolidating and partitioning servers in high-performance

environments.”).)




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          At the time of its launch, ESX 1.5 included certain “Service Console” functionality.1

That functionality was removed from ESX in 2010. (Id., Ex. 1 at 2, Ex. 3 at 2-3.) VMware

discontinued the ESX platform in 2012, when it introduced its “ESXi” platform. (Id.)

          B.     The ’583 patent was filed on May 20, 2003—more than a year after ESX 1.5’s
                 release date.

          The application for the asserted patent was filed on May 20, 2003:




(Dkt. No. 1-2 at Cover.) That filing date is more than a year after ESX 1.5’s release.

          C.     ZT’s Complaint cites extensively to the 2002 ESX 1.5 User Manual.

          On May 2, 2022, ZT sued VMware for allegedly infringing the ’583 patent. (Dkt. No. 1.)

The Complaint attaches Exhibit A for “[s]upport for [ZT’s] allegations of infringement.” (Dkt.

No. 1 at ¶ 10.) Exhibit A, in turn, is a chart that purports to explain how VMware’s ESX 1.5

product infringes claim 1 of the ’583 patent. (Dkt. No. 1-1.) The chart cites extensively—and

solely—to the 2002 ESX 1.5 User Manual to show VMware’s alleged infringement:




1
    ZT has accused this functionality of infringing the ’583 patent, as discussed below.

                                                   2
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(Id. at 1.) The chart specifically accuses ESX 1.5’s “Service Console” of infringement, referring

to it seventeen times:




                                                3
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(Id. at 9.) Neither the Complaint nor Exhibit A refers to any product besides ESX 1.5 or to any

documentation besides the 2002 ESX 1.5 User Manual.

       D.      VMware repeatedly tells ZT that its patent is invalid and that damages are
               unavailable.

       After ZT filed suit, VMware contacted ZT repeatedly (through in-house and outside

counsel) to identify obvious deficiencies in the Complaint. Via videoconference and e-mail

correspondence, VMware’s in-house counsel walked ZT’s counsel through publicly available

VMware documentation confirming that ESX 1.5 predated the ’583 patent’s filing date. (Hung

Decl., Ex. 3 at 1.) VMware’s in-house counsel also walked ZT’s counsel through publicly

available documentation confirming that VMware removed the accused Service Console

functionality in 2010, rendering damages unavailable under 35 U.S.C.S. § 286.2 (Id.)

       In light of the preceding, VMware asked ZT to dismiss its Complaint before both parties

incurred unnecessary legal fees and the Court wasted time on a fruitless endeavor. (Id. at 1-6.)

ZT responded by requesting a follow-up meeting—which it then skipped. (Id. at 3-4.) After ZT

missed the meeting, VMware reminded it of (and even re-forwarded) the evidence confirming

the ’583 patent’s invalidity and the unavailability of damages. (Id. at 1-3.) VMware again asked

ZT to dismiss its Complaint. (Id. at 3.) But ZT ignored VMware’s response.

       Lacking other recourse, VMware retained outside counsel, who again explained the

issues above to ZT. VMware expressly warned ZT that its conduct might subject it to sanctions.

(Id., Ex. 1 at 2-3.) VMware reminded ZT that its counsel’s identical conduct had led to a

$179,622 fee award in a prior case. (Id. (citing WPEM, Inc. v. SOTI Inc., No. 18-cv-156, 2020



2
  Section 286 limits the recovery of damages to six years before the filing of a complaint.
Because ZT’s infringement accusation against a prior art product alone justifies dismissal,
VMware moves to dismiss only on that basis. ZT’s inability to recover damages, however, also
independently supports dismissal—and underscores the frivolous nature of ZT’s Complaint.

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U.S. Dist. LEXIS 17449, at *21 (E.D. Tex., Feb. 4, 2020).) ZT still ignored VMware’s

correspondence.

       VMware subsequently served a motion for Rule 11 sanctions on ZT’s counsel on June 21,

2021.3 ZT did not dismiss its Complaint, and this motion followed.

III.   LEGAL STANDARD

       Rule 12(b)(6) requires that a complaint contain sufficient factual matter, if accepted as

true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). “[A] patentee may subject its claims to early dismissal by pleading facts that are

inconsistent with the requirements of its claims.” Bot M8 LLC v. Sony Corp. of Am., 4 F.4th

1342, 1346 (U.S. Fed. Cir. 2021).

       Invalidity is a complete defense to patent infringement; one cannot allege infringement of

an invalid claim. See Weatherchem Corp. v. J.L. Clark, Inc., 163 F.3d 1326, 1335 (Fed. Cir.

1998) (“[A] holding that claims are invalid eliminates, as a practical matter, the need to consider

on appeal whether those claims are infringed.”). A plaintiff’s claims may be challenged in a

Rule 12 motion on the basis of invalidity, and “dismissal under Rule 12(b)(6) may be

appropriate” “when a successful affirmative defense appears on the face of the pleadings[.]”

Kansa Reinsurance Co. v. Cong. Mortg. Corp., 20 F.3d 1362, 1366 (5th Cir. 1994); Teel v.

Deloitte & Touche LLP, No. 15-cv-2593, 2015 U.S. Dist. LEXIS 172645, at *7 (N.D. Tex. Dec.

29, 2015) (same).

       A plaintiff may “plead[] herself out of court by admitting to all of the elements of the

defense.” Sivertson v. Clinton, 2011 U.S. Dist. LEXIS 104097, at *6 (N.D. Tex. Sept. 14, 2011).


3
  The Rule 11 safe harbor expires on July 12, 2022. Should ZT fail to dismiss its lawsuit before
that date—despite VMware’s service of its Rule 11 motion and its filing of this motion—
VMware will file its Rule 11 motion and ask that the Court award it the fees and costs incurred
to date.

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“Generally, a court ruling on a 12(b)(6) motion may rely on the complaint, its proper

attachments, documents incorporated into the complaint by reference, and matters of which a

court may take judicial notice.” Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757, 763 (5th Cir.

2011). A court also may consider documents that a defendant attaches to a motion to dismiss if

the complaint refers to them and they are central to the plaintiff’s claims. Collins v. Morgan

Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000).

       A product that allegedly infringes, if later in time, anticipates (i.e., renders the patent

invalid), if earlier in time. Peters v. Active Mfg. Co., 129 U.S. 530, 537 (1889) (“That which

infringes, if later, would anticipate, if earlier.”); accord Upsher-Smith Lab’y, 412 F.3d at 1322.

Although a defendant bears the burden of proving invalidity, it may do so without an element-

by-element analysis when the accused product is “prior art” (i.e., predates the patent’s filing

date). See Evans Cooling Sys. v. General Motors Corp., 125 F.3d 1448, 1450-52 (Fed. Cir.

1997) (explaining that “burden [of proving invalidity] is met by [plaintiff’s] allegation, forming

the sole basis for the complaint, that the [prior art product] infringes”). The Federal Circuit has

affirmed a judgment of invalidity where the accused product was available or sold before the

patent’s filing date. See, e.g., id.; Vanmoor v. Wal-Mart Stores, Inc., 201 F.3d 1363, 1366 (Fed.

Cir. 2000) (affirming summary judgment of invalidity).

IV.    ARGUMENT

       A.      ZT’s own pleadings show that the asserted claims are invalid as anticipated
               by VMware’s own product

       As invalidity is a complete defense to infringement, if ZT’s patent is invalid, its

infringement claims must fail. See Weatherchem, 163 F.3d at 1335. To anticipate a patent’s

claims, a reference must (1) be “prior art” and (2) contain “each and every limitation of the

claimed invention.” Schering Corp. v. Geneva Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir.


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2003). Under 35 U.S.C. § 102(a), a reference is prior art if it was “known or used by others in

this country, or patented or described in a printed publication in this or a foreign country, before

the invention.” Under 35 U.S.C. § 102(b), a reference also is prior art if it was “patented or

described in a printed publication in this or a foreign country or in public use or on sale in this

country, more than one year prior to the date of the application for patent in the United States.”4

       Here, ZT’s pleadings show that the same product it accuses of infringement—VMware’s

ESX 1.5—invalidates the ’583 patent. ZT’s pleadings both (1) rely on materials showing ESX

1.5 was publicly used and described in a printed publication before the ’583 patent’s filing date

and (2) purport to map all limitations of the asserted claims to ESX 1.5.

               1.      The 2002 ESX 1.5 User Manual is prior art.

       The ’583 patent was filed on May 20, 2003. (Dkt. No. 1-2 at Cover.) To qualify as prior

art under Section 102, the 2002 ESX 1.5 User Manual must precede that filing date.

       ZT’s own pleadings confirm that it does. In its infringement chart (Exhibit A to the

Complaint), ZT relies on the publicly available 2002 ESX 1.5 User Manual to prove

infringement. (Dkt. No. 1-1.) ZT cites to the manual extensively in its chart, even including

multiple excerpts. (Id.) The 2002 ESX 1.5 User Manual bears a copyright date of 2002, which

precedes the ’583 patent’s filing date. (Hung Decl., Ex. 2 at 2.) The 2002 ESX 1.5 User Manual

therefore is prior art at least under Section 102(a).5


4
  The Leahy-Smith America Invents Act (“AIA”) changed the language of Sections 102(a)-(b).
Because the ’583 patent was filed before the AIA’s effective date of March 16, 2013, however,
the pre-AIA version of Sections 102(a)-(b) apply. See UCB, Inc. v. Watson Lab’ys Inc., 927
F.3d 1272, 1291 (Fed. Cir. 2019) (explaining change).
5
 Public webpages captured by the Internet Archive’s “Wayback Machine” confirm that ESX 1.5
was available on May 13, 2002—over a year before the ’583 patent’s filing date. See “VMware
Announces ESX Server 1.5 for Enterprise Server Consolidation” (May 13, 2002), available at
https://web.archive.org/web/20020610021656/ http://www.vmware.com/news/releases/
esx15.html. ESX 1.5 therefore also qualifies as prior art under Section 102(b). The Court may

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               2.      Per ZT’s pleadings, ESX 1.5 meets all elements of the asserted claims.

       Multiple courts in this District and Circuit have acknowledged that a plaintiff’s pleadings

may be used against it to prove invalidity. Specifically, a plaintiff’s pleadings act as an

admission that an accused product satisfies every element of a patent and thus anticipates it, if

earlier in time. See, e.g., Gammino v. Sw. Bell Tel., L.P., 512 F. Supp. 2d 626, 636 (N.D. Tex.

2007), aff’d, 267 F. App’x 949 (Fed. Cir. 2008) (“[T]he fact that Gammino bases his

infringement claims against SWB on SWB’s own prior art call-blocking services renders the

claims of his patents invalid.”); Metaswitch Networks Ltd. v. Genband US LLC, No. 14-cv-744,

2016 U.S. Dist. LEXIS 25420, at *20 (E.D. Tex. Mar. 1, 2016) (“When the defendant contends

the patent is invalidated by the accused product itself, the patentee’s infringement allegations

operate as a concession that the accused product meets the limitations of the asserted claims.”);

Google Inc. v. Beneficial Innovations, Inc., No. 11-cv-229, 2014 U.S. Dist. LEXIS 116824, at

*13 (E.D. Tex. Aug. 22, 2014) (“The Federal Circuit held that, when the item identified as

anticipating prior art is the same as that which the patentee contended to be infringing, the

patentee’s infringement contentions alone satisfy the accused infringer’s burden to prove

anticipation.”).

       Here, ZT has accused ESX 1.5 of infringement. It provided an infringement chart

(Exhibit A to the Complaint) explaining how ESX 1.5 allegedly satisfies all limitations of ’583



take judicial notice of this fact if it so desires. See, e.g., Valve Corp. v. Ironburg Inventions Ltd.,
8 F.4th 1364, 1374 (Fed. Cir. 2021) (“District courts have taken judicial notice of the contents of
webpages available through the Wayback Machine ‘as facts that can be accurately and readily
determined from sources whose accuracy cannot reasonably be questioned.’”) (quoting Erickson
v. Neb. Mach. Co., No. 15-cv-1147, 2015 U.S. Dist. LEXIS 87417, at *1 n.1 (N.D. Cal. July 6,
2015); see also Pohl v. MH Sub I, LLC, 332 F.R.D. 713, 716 (N.D. Fla. 2019) (following “lead
of the overwhelming number of courts that have decided the issue and tak[ing] judicial notice of
the contents of WayBack Machine evidence”); but see Weinhoffer v. Davie Shoring, Inc., 23
F.4th 579, 584 (5th Cir. 2022) (declining to take judicial notice of unauthenticated exhibit).

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patent claim 1. VMware thus need not show that ESX 1.5 satisfies every element of the asserted

claims. ZT’s accusation acts as a binding admission that ESX 1.5 anticipates (i.e., invalidates)

the claims.6 See Evans Cooling, 125 F.3d at 1451; Vanmoor, 201 F.3d 1366.

        B.      Dismissal under Rule 12(b)(6) is appropriate.

        Judgment in a defendant’s favor holding a patent invalid is appropriate where the accused

product predates the patent’s filing date. See, e.g., Big Baboon, 2019 U.S. Dist. LEXIS 69769, at

*7-8 (invalidating patent where accused product sold before patent’s priority date); Gammino,

512 F. Supp. 2d at 633 (“Gammino’s own infringement case places his claims squarely within

items of anticipatory prior art rendering the asserted claims of his patents invalid under 35 U.S.C.

§§ 102(b).”). Judgment is appropriate for the same reason here, as ZT has accused a prior art

product (ESX 1.5) of infringing a later-filed patent (the ’583 patent).

        ZT must be aware that dismissal is the appropriate outcome here. Its counsel stipulated

to that result when faced with similar facts—but was sanctioned nevertheless.

        In WPEM, ZT’s counsel stipulated to the dismissal of his client’s case where “it was

‘reasonably clear’ that the [a]ccused [t]echnology [was] in fact prior art” and, it “covered by the

[a]sserted [patent, as [his client] contend[ed], . . . invalidate[d] rather than infringe[d] the

[a]sserted [p]atent.” WPEM, 2020 U.S. Dist. LEXIS 17449, at *7. Despite his client’s stipulated

dismissal, the court found that ZT’s counsel had “unreasonably subjected [the defendant] to the

costs of litigation” and required his client to “bear its attorneys’ fees” of $179,622. Id. at *8.


6
  ZT cannot avoid invalidity by “walking back” its infringement allegation against ESX 1.5 (e.g.,
by arguing that ESX 1.5 does not satisfy a claim element). See Big Baboon, Inc. v. SAP Am.,
Inc., No. 17-cv-2082, 2019 U.S. Dist. LEXIS 69769, at *7-8 (N.D. Cal. Apr. 24, 2019) (rejecting
attempt to disclaim infringement accusations against prior art product). Such an attempt would
not avoid dismissal, however, as ZT’s Complaint then would be deficient for a different reason:
VMware would not infringe. See Ericsson, Inc. v. D-Link Sys., 773 F.3d 1201, 1215 (Fed. Cir.
2014) (“To prove literal infringement, the patentee must show that the accused device contains
each and every limitation of the asserted claims.”).

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The Federal Circuit subsequently affirmed the fee award in defendant’s favor. See WPEM, LLC

v. SOTI Inc., 837 F. App’x 773, 774 (Fed. Cir. 2020) (observing that, as “the [a]ccused

[t]echnology [was] prior art . . . , [plaintiff] could not bring a successful infringement suit”).

        The reasoning of Baboon, Gammino, and WPEM applies equally here. ZT’s maintenance

of this lawsuit—despite VMware’s repeated explanations of its obvious deficiencies—warrants

dismissal and fees. VMware respectfully requests that the Court order both.

V.      CONCLUSION

        That which infringes, if later, anticipates, if earlier. ZT has asserted the ’583 patent

against a product (ESX 1.5) that predates that patent. Under well-established Federal Circuit

precedent, the ’583 patent therefore is invalid. VMware respectfully requests that the Court

dismiss ZT’s lawsuit with prejudice.




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Dated: July 8, 2022                Respectfully submitted,



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                                   *To move for pro hac vice admission

                                   Counsel for Defendant VMware, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that, on July 8, 2022, I filed the foregoing document via the Court’s ECF
system, which will send notice of the filing to counsel for Plaintiff.



                                                                           .
                                            STEVEN CALLAHAN




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